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                                                                       5
                                                                         Attorneys for Howard M. Ehrenberg,
                                                                       6 Chapter 7 Trustee

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                                                                       8                                UNITED STATES BANKRUPTCY COURT

                                                                       9                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                      10                                       LOS ANGELES DIVISION
  A Professional Corporation




                                                                      11 In re                                                  Case No. 2:18-bk-17345-ER
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                      12 FU KONG INC.,                                          Chapter 7

                                                                      13                                                        Adv. No.
                                                                                            Debtor.
                                                                      14
                                                                                                                                COMPLAINT FOR AVOIDANCE AND
SulmeyerKupetz,




                                                                      15 HOWARD M. EHRENBERG, Chapter 7                         RECOVERY OF FRAUDULENT
                                                                         Trustee,                                               TRANSFERS AND PREFERENTIAL
                                                                      16                                                        TRANSFERS PURSUANT TO
                                                                                    Plaintiff,                                  11 U.S.C. §§ 544, 547(b), 548, 550 AND 551
                                                                      17
                                                                                vs.                                             Status Conference:
                                                                      18
                                                                         LUNG HSIANG HSU, an individual,                        Date:    {To Be Set By Court}
                                                                      19                                                        Time:    {To Be Set By Court}
                                                                                    Defendant.                                  Place: Courtroom 1568
                                                                      20                                                         United States Bankruptcy Court
                                                                                                                                 255 East Temple Street
                                                                      21                                                         Los Angeles, California 90012

                                                                      22

                                                                      23            For his Complaint For Avoidance And Recovery Of Fraudulent Transfers And Preferential
                                                                      24 Transfers Pursuant To 11 U.S.C. §§ 544, 547(B), 548, 550 And 551 (“Complaint”), against Lung

                                                                      25 Hsiang Hsu ("Defendant"), Howard M. Ehrenberg, the duly appointed and acting Chapter 7

                                                                      26 Trustee of the estate of Fu Kong Inc. ("Trustee" or Plaintiff"), hereby alleges as follows:

                                                                      27

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                                                                       1                                REQUIRED PLEADING DISCLOSURE

                                                                       2            In accordance with the requirements of Local Bankruptcy Rule 7008-1, the Plaintiff hereby

                                                                       3 alleges that the claims for relief set forth in the Complaint constitute a core proceeding under 28

                                                                       4 U.S.C. § 157(b), in that the claims for relief relate directly to property which may be property of

                                                                       5 the estate of Fu Kong Inc. ("Debtor"). Regardless of whether the claims for relief are core or non-

                                                                       6 core, Plaintiff hereby consents to the entry of final orders and judgment by the Bankruptcy Court,

                                                                       7 except as may be precluded by applicable law.

                                                                       8                      STATEMENT OF JURISDICTION AND PROCEEDINGS

                                                                       9            1.      On June 26, 2018 ("Petition Date"), the Debtor filed a voluntary petition under
                                                                      10 chapter 11 of Title 11 of the United States Code ("Bankruptcy Code"), commencing Case No.
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                                                                      11 2:18-bk-17345-ER ("Bankruptcy Case").
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                                                                      12            2.      On January 9, 2019, this case converted to one under Chapter 7 of the Bankruptcy

                                                                      13 Code. Thereafter, Howard M. Ehrenberg was appointed as the Chapter 7 Trustee of the Debtor's

                                                                      14 bankruptcy estate ("Estate"), and he continues to act in that capacity.
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                                                                      15            3.      The Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §§ 157(b)(1)

                                                                      16 and 1334(a) and General Order No. 242-A of the District Court for the Central District of

                                                                      17 California, as this is a core proceeding under 28 U.S.C. §§ 157(b)(1), (b)(2)(F), and (b)(2)(H).

                                                                      18            4.      Venue properly lies in this judicial district pursuant to 28 U.S.C. § 1409(a) because

                                                                      19 this proceeding is related to the Debtor’s bankruptcy case which is still pending.

                                                                      20            5.      Pursuant to 11 U.S.C. § 544, the Plaintiff has standing to bring this adversary

                                                                      21 proceeding on behalf of the Estate.

                                                                      22                                                 PARTIES

                                                                      23            6.      The Plaintiff is the Chapter 7 trustee of the Estate, and brings this action for the

                                                                      24 benefit of the Estate and its creditors. To the extent that Plaintiff hereby asserts claims under 11

                                                                      25 U.S.C. § 544(b), Plaintiff is informed and believes, and based thereon alleges, that there exists in

                                                                      26 these cases one or more creditors holding unsecured claims allowable under 11 U.S.C. § 502 or

                                                                      27 that are not allowable only under 11 U.S.C. § 502(e) who could have avoided the respective

                                                                      28 transfers or obligations under California or other applicable law before the Petition Date.


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                                                                       1            7.      Plaintiff was appointed as Chapter 7 trustee after the Petition Date. As a result,

                                                                       2 Plaintiff does not have personal knowledge of the facts alleged in this Complaint that occurred

                                                                       3 prior to his appointment and, therefore alleges all those facts on information and belief. Plaintiff

                                                                       4 reserves his right to amend this Complaint to allege additional claims against the Defendant and to

                                                                       5 challenge and recover transfers made to or for the benefit of the Defendant in addition to those

                                                                       6 transfers alleged in this Complaint.

                                                                       7            8.      Plaintiff is informed and believes and based thereon alleges that Defendant is an

                                                                       8 individual residing in Los Angeles County, California. Plaintiff is informed and believes that at

                                                                       9 all relevant times, Defendant was a relative of George Hsu and/or Lillian Hsu, the President. Sole
                                                                      10 Director, and Sole Shareholder of the Debtor.
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                                                                      11            9.      At all relevant times, Defendant was the entity for whose benefit the recoverable
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                                                                      12 transfers alleged in this Complaint were made; and/or an immediate or mediate transferee of such

                                                                      13 recoverable transfers.

                                                                      14                         FACTS COMMON TO ALL CLAIMS FOR RELIEF
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                                                                      15            10.     Prior to the Petition Date, the Debtor was involved in the women's clothing

                                                                      16 business.

                                                                      17            11.     Prior to the Petition Date, the Debtor made three payments to the Defendant by

                                                                      18 check: (1) payment of $23,000 by check dated January 22, 2016, (2) payment of $25,000 by

                                                                      19 check dated March 1, 2016, and (3) payment of $24,500 by check dated May 23, 2016. True and

                                                                      20 correct copies of each of these checks is attached hereto as Exhibit 1. The total amount of these

                                                                      21 transfers (hereafter, the "Transfers"), was $72,500.

                                                                      22            12.     Plaintiff has asked Debtor for information regarding the Transfers, but Debtor has

                                                                      23 not provided any information or explanation as to why the Transfers were made.

                                                                      24                                     FIRST CLAIM FOR RELIEF

                                                                      25   (Avoidance And Recovery Of Transfers As Intentionally Fraudulent Transfers Pursuant To

                                                                      26           11 U.S.C. § 544(b) And 550(a) And Cal. Civil Code § 3439.04(a)(1)) and 3439.07

                                                                      27            13.     Plaintiff realleges and incorporates herein by reference each and every allegation

                                                                      28 contained in paragraphs 1 through 12 as though set forth in full.


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                                                                       1            14.     Plaintiff is informed and believes, and based thereon alleges, that during the four

                                                                       2 (4) year period preceding the Petition Date, the Transfers were made to or for the benefit of the

                                                                       3 Defendant.

                                                                       4            15.     Plaintiff is informed and believes, and based thereon alleges, that the Transfers

                                                                       5 were made with the actual intent to hinder, delay and/or defraud Debtor's creditors in that, among

                                                                       6 other things,

                                                                       7                    a.     prior to receiving the Transfers, the Defendant did not transfer any property

                                                                       8 to the Debtor of material value;

                                                                       9                    b.     at no time did the Debtor enter into any agreement with Defendant to repay
                                                                      10 Defendant for any monies previously transferred to the Debtor by Defendant;
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                                                                      11                    c.     the Defendant is an insider of the Debtor, as the Defendant is a relative of
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                                                                      12 the principals of the Debtor;

                                                                      13                    d.     the value of any consideration transferred by the Defendant to the Debtor
                                                                      14 was not reasonably equivalent to the value of the Transfers;
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                                                                      15                    e.     as the Defendant was a family member of the principals of the Debtor, the
                                                                      16 effect of the Transfer was to transfer property of the Debtor to an insider of the Debtor;

                                                                      17                    f.     the Transfers effectuated a transfer of a substantial amount of the Debtor's
                                                                      18 assets;

                                                                      19                    g.     the Debtor retained possession or control of the proceeds of the Transfers
                                                                      20 after such transfers were made;

                                                                      21                    h.     the Debtor was insolvent at the time of the Transfers or became insolvent as
                                                                      22 a result of or shortly after the Transfers; and

                                                                      23                    i.     the Transfers occurred after the Debtor incurred substantial debt.
                                                                      24            16.     At all relevant times, the Transfers were voidable under California Civil Code
                                                                      25 §§ 3439.04(a) and 3439.07 by one or more creditors who held and hold unsecured claims against

                                                                      26 the Debtor that were and are allowable against the estate under 11 U.S.C. § 502 or that were and

                                                                      27 are not allowable only under 11 U.S.C. § 502(e). These creditors include, without limitation,

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                                                                       1 those creditors who are listed in the Debtor’s schedules as holding undisputed claims or who have

                                                                       2 filed proofs of claim against the Debtor's estate.

                                                                       3            17.     Plaintiff is entitled to an order and judgment under 11 U.S.C. §544(b) and 550(a)

                                                                       4 that the Transfers are avoided.

                                                                       5

                                                                       6                                     SECOND CLAIM FOR RELIEF

                                                                       7   (For Avoidance And Recovery Of Transfers Pursuant To 11 U.S.C. § 544(b) and 550(a) and

                                                                       8            Cal. Civil Code § 3439.04(a)(2) or 3439.05 and California Civil Code §3439.07

                                                                       9            18.     Plaintiff realleges and incorporates herein by reference each and every allegation
                                                                      10 contained in paragraphs 1 through 17, as though set forth in full.
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                                                                      11            19.     The Transfers occurred within four years of the Petition Date.
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                                                                      12            20.     Plaintiff is informed and believes, and based thereon alleges, that at the time of the
                                                                      13 Transfers, the Debtor: (i) was engaged in or was about to be engaged in a business or a transaction

                                                                      14 for which the remaining assets of the Debtor were unreasonably small in relation to the business or
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                                                                      15 transaction; (ii) intended to incur, or believed or reasonably should have believed that it would

                                                                      16 incur, debts beyond its ability to pay as they became due; or (iii) the Debtor was insolvent or

                                                                      17 became insolvent as a result of the Transfers.

                                                                      18            21.     At all relevant times, the Transfers were voidable under California Civil Code
                                                                      19 §§ 3439.04(a)(2) or 3439.05 and California Civil Code § 3439.07 by one or more creditors who

                                                                      20 held and hold unsecured claims against the Debtor that were and are allowable against its estate

                                                                      21 under 11 U.S.C. § 502 or that were and are not allowable only under 11 U.S.C. § 502(e). These

                                                                      22 creditors include, without limitation, those creditors who are listed in the Debtor’s schedules as

                                                                      23 holding undisputed claims or who have filed proofs of claim against the Debtor's estate.

                                                                      24            22.     Plaintiff is entitled to an order and judgment under 11 U.S.C. §§ 544(b) and 550(a)
                                                                      25 that the Transfers are avoided.

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                                                                       1                                      THIRD CLAIM FOR RELIEF

                                                                       2                        (For Recovery Of Property Pursuant To 11 U.S.C. § 550)

                                                                       3            23.     Plaintiff realleges and incorporates herein by reference each and every allegation

                                                                       4 contained in paragraphs 1 through 22 as though set forth in full.

                                                                       5            24.     As alleged herein, Plaintiff is entitled to avoid the Transfers under 11 U.S.C. § 544

                                                                       6 As the Defendant is the initial transferee of the Transfers, or the person for whose benefit the

                                                                       7 Transfers were made, or is the immediate or mediate transferee of the initial transferee receiving

                                                                       8 such Transfers, or any of them, Plaintiff is entitled to recover for the Estate the proceeds or value

                                                                       9 of the respective transfers under 11 U.S.C. § 550.
                                                                      10                                      FIFTH CLAIM FOR RELIEF
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                                                                      11                    (For Preservation Of Avoided Transfer Pursuant To U.S.C. § 551)
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                                                                      12            25.     Plaintiff realleges and incorporates herein by reference each and every allegation

                                                                      13 contained in paragraphs 1 through 24 as though set forth in full.

                                                                      14            26.     Pursuant to 11 U.S.C. § 551, Plaintiff is entitled to preserve any transfer avoided
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                                                                      15 under 11 U.S.C. § 544, including the Transfers, for the benefit of the Estate.

                                                                      16                    WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

                                                                      17                                 ON THE FIRST CLAIM FOR RELIEF

                                                                      18            1.      For a judgment that the Transfers are avoided under §§ 544(b) and 550(a) and/or

                                                                      19 providing any other remedy available under applicable law;

                                                                      20                               ON THE SECOND CLAIM FOR RELIEF

                                                                      21            2.      For a judgment that the Transfers are avoided under §§ 544(b) and 550(a) and/or

                                                                      22 providing any other remedy available under applicable law;

                                                                      23                                ON THE THIRD CLAIM FOR RELIEF

                                                                      24            3.      For a judgment that the Estate is entitled to recover the Transfers or the value

                                                                      25 thereof under 11 U.S.C. § 550;

                                                                      26                               ON THE FOURTH CLAIM FOR RELIEF

                                                                      27            4.      For a judgment that the Estate is entitled to preserve any transfers avoided under 11

                                                                      28 U.S.C. § 544, including the Transfers, for the benefit of the Estate;


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                                                                       1                                     ON ALL CLAIMS FOR RELIEF

                                                                       2            5.      For interest as permitted by law from the date of the Transfers;

                                                                       3            6.      For costs of suit incurred herein, including attorneys’ fees; and

                                                                       4            7.      For such other and further relief as the Court deems just and proper.

                                                                       5 DATED: August 5, 2019                          SulmeyerKupetz
                                                                                                                        A Professional Corporation
                                                                       6

                                                                       7
                                                                                                                        By:    /s/ Steven F. Werth
                                                                       8
                                                                                                                              Steven F. Werth
                                                                       9                                                      Attorneys for Howard M. Ehrenberg
                                                                                                                              Chapter 7 Trustee
                                                                      10
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                        EXHIBIT 1                                        0008
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Date 01-22-2016 Account 8083006448   Amount 23000.00    Serial 91
DAccount 0 DAmount 3735304




Date 03-01-2016 Account 8083006448 Amount 25000.00      Serial 92
DAccount 20308953 DAmount 2500000




Date 05-02-2016 Account 8083006448 Amount 4500.00      Serial 93
DAccount 500101230 DAmount 9528584400




Date 05-23-2016 Account 8083006448 Amount 24500.00      Serial 94
DAccount 20308953 DAmount 2450000


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Date 05-26-2016 Account 8083006448 Amount 3500.00   Serial 96
DAccount 500101230 DAmount 5124617318




Date 05-27-2016 Account 8083006448 Amount 1000.00   Serial 95
DAccount 500101230 DAmount 5155102860




Date 07-01-2016 Account 8083006448 Amount 5000.00   Serial 97
DAccount 500101230 DAmount 5720235085




Date 12-29-2016 Account 8083006448 Amount 5000.00   Serial 98
DAccount 500101230 DAmount 7796248947


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Date 01-18-2017 Account 8083006448 Amount 5000.00   Serial 99
DAccount 500101230 DAmount 8704964372




Date 05-12-2017 Account 8083006448 Amount 2500.00   Serial 100
DAccount 500101230 DAmount 5742073214




Date 05-15-2017 Account 8083006448 Amount 2600.00   Serial 0
DAccount 500101230 DAmount 8560934247




Date 08-01-2017 Account 8083006448 Amount 28.00   Serial 0
DAccount 500101230 DAmount 8728485343


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